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                                    Case No. 3:21-cv-01590-N


                            IN THE UNITED STATES DISTRICT COURT
                            FOR THE NORTHERN DISTRICT OF TEXAS
                                      DALLAS DIVISION

 In re: Highland Capital Management, L.P.,

                   Reorganized Debtor.


 JAMES DONDERO,

 Appellant,

 v.

 HIGHLAND CAPITAL MANAGEMENT, L.P.,

 Appellee.



                                      On Appeal from the
            United States Bankruptcy Court, Northern District of Texas, Dallas Division
                       Case No. 19-34054-sgj11 (Hon. Stacey G.C. Jernigan)

   HIGHLAND CAPITAL MANAGEMENT, L.P.’S SECOND UNOPPOSED MOTION
           FOR EXTENSION OF TIME TO FILE RESPONSE BRIEF

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         Highland Capital Management, L.P., the appellee (“Highland” or “Appellee”)

in the above-captioned appeal (the “Appeal”), hereby submits this Second

Unopposed Motion for Extension of Time to File Response Brief (the “Second

Motion for Extension”). In support of its Second Motion for Extension, Highland

respectfully states as follows:

                                   I.      BACKGROUND

         1.      On June 15, 2021, appellant James Dondero (“Appellant”) filed his

Notice of Appeal of the Bankruptcy Court’s Memorandum Opinion and Order

Granting in Part Plaintiff’s Motion to Hold James Dondero in Civil Contempt for

Alleged Violation of TRO [Adv. Proc. Docket No. 195]. 1

         2.      On June 29, 2021, Appellant filed Appellant’s Designation of Items to

Be Included in the Record on Appeal and Statement of Issues to Be Presented [Adv.

Proc. Docket No. 203].

         3.      On August 6, 2021, the record on appeal was transmitted to this Court.

[Docket No. 7]. 2

         4.      On August 12, 2021, Appellant filed his Unopposed Motion to

Supplement the Record on Appeal to address certain deficiencies in the record.

[Docket No. 10].



1
    Refers to the docket maintained in the adversary proceeding captioned 21-3190-sgj.
2
    Refers to the docket maintained in the above-captioned Appeal.

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        5.       On August 24, 2021, the Court entered the Order Granting Appellant’s

Unopposed Motion to Supplement Record on Appeal [Docket No. 12] (the “Order”).

The Order authorized Appellant to provide to the Clerk for the United States

Bankruptcy Court for the Northern District of Texas, Dallas Division (the

“Bankruptcy Court”), certain supplemental items to be included in the record on

appeal. The Order further provided that Appellant’s opening brief (the “Opening

Brief”) would be due within 30 days after the supplemental record was transmitted

to the Court in accordance with Rule 8018 of the Federal Rules of Bankruptcy

Procedure (the “Bankruptcy Rules”).

        6.       On September 7, 2021, the supplemental record on appeal was

transmitted to the Court. [Docket No. 13].

        7.       On September 16, 2021, Appellant filed his Unopposed Motion for

Extension of Time to File Opening Brief [Docket No. 14] (“Appellant’s Motion to

Extend Time”).

        8.       On September 17, 2021, the Court issued its Order granting

Appellant’s’ Motion to Extend Time. [Docket No. 15].

        9.       On November 8, 2021, Appellant filed his Opening Brief. [Docket No.

16].

        10.      On November 24, 2021, Highland filed its Unopposed Motion for

Extension of Time to File Response Brief [Docket No. 18] (the “First Motion for


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Extension”) requesting an extension of the deadline for Highland to file its response

brief (the “Response”) from December 8, 2021 to January 7, 2022.

        11.      On November 29, 2021, the Court granted Highland’s First Motion for

Extension [Docket No. 19] (the “Order”).

        12.      Pursuant to the Order, Highland’s Response is currently due on January

7, 2021.

                            II.      RELIEF REQUESTED

        13.      Highland respectfully requests a further extension of time in which to

file its Response—from January 7, 2022 to January 31, 2022.

        14.      Good cause exists for the requested further extension. About a week

ago, Roy T. Englert, Jr., and Matthew M. Madden of Robbins, Russell, Englert,

Orseck & Untereiner LLP (“Robbins Russell”) agreed to assist Highland in

preparing the Response. 3 Highland has since provided the record on appeal to

Robbins Russell, but that firm needs additional time to familiarize itself with this

Appeal while also handling previously scheduled matters. The further extension will

provide Robbins Russell with sufficient time to assist in the preparation of

Highland’s Response.




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  Messrs. Englert and Madden (and two other colleagues) will shortly file pro hac vice motions in
this Appeal.

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        15.      Accordingly, for the foregoing reasons, Highland respectfully requests

that the Court extend Highland’s deadline to file its Response from January 7, 2022

to January 31, 2022.

                                III.    CONCLUSION

        WHEREFORE, Highland respectfully requests that the Court enter an order

(i) granting the Second Motion for Extension, (ii) extending the deadline for

Highland to file its Response from January 7, 2022 to January 31, 2022, and (iii)

granting Highland such other and further relief as may be just and proper.




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 Dated: December 23, 2021.        PACHULSKI STANG ZIEHL & JONES LLP
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                            CERTIFICATE OF CONFERENCE

     The undersigned hereby certifies that, on December 21, 2021, counsel for
Highland corresponded with counsel for Appellant regarding the relief requested in
the foregoing Second Motion for Extension. On December 23, 2021, counsel for
Appellant advised counsel for Highland that Appellant is UNOPPOSED to the relief
requested in the Second Motion for Extension.


                                          /s/ Zachery Z. Annable
                                         Zachery Z. Annable


                CERTIFICATE OF COMPLIANCE WITH RULE 8013

      The undersigned hereby certifies that this Second Motion for Extension
complies with the type-volume limitation set by Rule 8013(f)(3) of the Federal Rules
of Bankruptcy Procedure. This Second Motion for Extension contains 655 words.

                                          /s/ Zachery Z. Annable
                                         Zachery Z. Annable




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